






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00010-CR


NO. 03-04-00011-CR

NO. 03-04-00012-CR






Daniel Williams, Appellant


v.


The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 331ST JUDICIAL DISTRICT

NOS. 3031132, 2032066 &amp; 2032067, HONORABLE BOB PERKINS, JUDGE PRESIDING (1)






O P I N I O N



	Appellant Daniel Williams appeals his convictions for aggravated assault with a
deadly weapon, possession of cocaine in an amount of less than one gram, and robbery.  Appellant
waived trial by jury and entered pleas of guilty to the three offenses before the trial court.  The trial
court found the enhancement allegations in the aggravated assault and robbery indictments to be true
as confessed by appellant, and assessed a punishment of fifty-five years' imprisonment in each of
these cases.  The trial court assessed punishment for the possession of cocaine at one year in a state
jail facility.  All true sentences were ordered to be served concurrently.  Notice of appeal was filed
in all three cases.  Different counsel was appointed on appeal.

Points of Error

	Appellant advances ten points of error, most of which relate to a pretrial competency
to stand trial hearing before a jury.  On November 18, 2003, the jury returned a verdict finding
appellant competent to stand trial.  First, appellant challenges the factual sufficiency of the evidence
to support the jury's verdict at the competency hearing.  Second and third, appellant urges that the
trial court committed fundamental error when at the competency hearing it twice impermissibly
commented on the weight of the evidence.  Fourth, appellant complains of the admission of Officer
Shawn Lapuszynski's "expert" opinion testimony at the competency hearing.  Fifth, appellant argues
for a number of reasons that the trial court erred in admitting into evidence at the competency
hearing his pro se motion to substitute counsel.  Sixth, appellant asserts that the trial court erred in
excluding at the competency hearing his application for the appointment of a guardian containing
allegations that the probate court later acted upon favorably.

	Seventh, turning to the trial itself, appellant contends that the trial court failed to sua
sponte withdraw appellant's pleas of guilty when the evidence of appellant's incompetency became
overwhelming "at punishment."  Eighth, appellant asserts it was error to introduce evidence of the
victim's injuries and photographs of the crime scene pertaining to a prior conviction alleged for
enhancement after he had pleaded "true" to such allegations.  Ninth, appellant urges that the
cumulative effect of all the errors violated due process of law under the United States Constitution. 
Tenth, appellant complains that the two sentences of fifty-five years' imprisonment constitute cruel
and unusual punishment in violation of Texas law and the Eighth Amendment to the United States
Constitution, or in the alternative, that the evidence of mental illness adduced "at punishment"
mitigated his conduct and required the imposition of lower sentences.

Background


	At about 2 a.m. on May 30, 2003, Annette Harris was awakened by a knocking on
the front door of her house in Travis County.  When the knocker identified himself as "Dee Dee,"
an acquaintance of Harris's, she opened the door.  Appellant and another man barged in.  Appellant
threatened Harris and demanded money.  She gave him money.  Appellant then tried to kiss her and
pulled her into a bedroom, squeezing her neck with his arm.  Harris was choked until she lost
consciousness.  When Harris regained consciousness, she was on the living room couch in her
nightgown, and her face was swollen and bloody.  No rape examination was performed at the
hospital where she was treated.  Harris had no recollection of any sexual encounter but she later
developed a sexually transmitted disease.  These facts lead to the robbery charge to which appellant
pleaded guilty.

	On the same morning at about 3 or 4 a.m., appellant and his girlfriend appeared at the
apartment of Timothy McCraney.  McCraney had once lived for a time with appellant and his mother
and considered appellant his "brother."  Appellant and his girlfriend had earlier been invited by
McCraney to stay overnight at the one bedroom apartment.  However, they arrived with another
couple.  McCraney found that the other couple was still there when he awakened.  Tracy,
McCraney's girlfriend, came to the apartment later that morning.  McCraney explained to appellant
that the apartment was subsidized by "a section 8 program" and he was concerned about too many
people being there.  Appellant became nervous and upset.  He punched Tracy in the head and
McCraney in the face.  Appellant was worried that they might call the police.  Appellant forced
Tracy into a closet where he and another male tried to strangle her.  Appellant explained that he was
only trying to put Tracy to sleep so she would not call the police.  Eventually, appellant stabbed
McCraney in the knee with a knife and threatened to kill McCraney and Tracy because "he didn't
want to leave any witness behind."  Later, when McCraney was trying to escape, he was stabbed in
the shoulder and neck by appellant with scissors.  When McCraney broke a window, appellant and
the other man ran away.  These actions by appellant formed the basis of the aggravated assault
charge.

	After the assaults upon McCraney and Tracy, appellant was arrested during his
attempted escape from the police.  Appellant told the arresting officer that he had intended to kill
McCraney and regretted not finishing the job, and that he should have killed "the bitch."  The
arresting officer later learned that appellant had a rock of crack cocaine in his watch pocket.


Competency to Stand Trial


Factual Sufficiency


	In his first point of error, appellant claims that the evidence at the pretrial hearing was
factually insufficient to support the jury's finding that appellant was competent to stand trial.  Thus,
appellant argues that he was incapable of entering valid guilty pleas and that the judgments of
conviction must be reversed.

	Prior to trial, appellant was accorded a hearing on the issue of competency to stand
trial before a jury.  The proceedings were conducted under the provisions of Article 46.02 of the
Code of Criminal Procedure in effect at the time (November 17-18, 2003). (2)  Article 46.02 has now
been repealed.  See generally Chapter 46B, Tex. Code Crim. Proc. Ann. (West Supp. 2005)
(effective January 1, 2004).

	Article 46.02, section 1A in effect at the time provided:


(a)	A person is incompetent to stand trial if the person does not have:


	(1)	sufficient present ability to consult with the person's lawyer with a
reasonable degree of rational understanding; or 


	(2)	a rational as well as a factual understanding of the proceedings against the
person.


(b)	A defendant is presumed competent to stand trial and shall be found competent
to stand trial unless proved incompetent by a preponderance of the evidence.



Act of May 26, 1999, 76th Leg., R.S., ch. 561, 1999 Tex. Gen. Laws 3092 (repealed).  (Current
version at Tex. Code Crim. Proc. Ann. art. 46B.003 (West Supp. 2005)).

	Section 4(a) of article 46.02 in effect at the time provided:


	If the court determines that there is evidence to support a finding of
incompetency to stand trial, a jury shall be empaneled to determine the defendant's
competency to stand trial.  The determination shall be made by a jury that has not
been selected to determine the guilt or innocence of the defendant.



Act of May 26, 1999, 76th Leg., R.S., ch. 561, 1999 Tex. Gen. Laws 3092 (repealed).  (Current
version at Tex. Code Crim. Proc. Ann. art. 46B.651 (West Supp. 2005)).

	The jury proceedings under article 46.02 were civil in nature.  Parker v. State, 667
S.W.2d 185, 187 (Tex. App.--Texarkana 1983, pet. ref'd).  In a competency hearing before a jury,
a defendant has to overcome the presumption of competency and has the burden of proving
incompetency by a preponderance of the evidence.  Id. at 187.  The jury is the judge of the credibility
of the witnesses at the competency hearing and the weight to give to the testimony.  The jury accept
or reject all or any of a witness's testimony.  It is the exclusive province of the jury to resolve
conflicts.  Westbrook v. State, 29 S.W.3d 103, 111 (Tex. Crim. App. 2000); Clark v. State, 47
S.W.3d 211, 215 (Tex. App.--Beaumont 2001, no pet.); Parker, 667 S.W.2d at 187.

	At the conclusion of testimony in the competency hearing, the trial court charged the
jury in accordance with article 46.02 and the applicable law.  The jury returned its verdict finding
appellant competent to stand trial.


The Standard of Review


	Now on appeal following his convictions, appellant challenges the factual sufficiency
of the evidence to support the jury's verdict at the competency hearing.  Appellate review of the
factual sufficiency of the evidence to support a jury's finding that a defendant is competent to stand
trial is governed by the following standard:


[W]hen the courts of appeals are called upon to exercise their fact jurisdiction, that
is, examine whether the appellant proved his affirmative defense or other fact issue
where the law has designated that the defendant has the burden of proof by a
preponderance of evidence, the correct standard of review is whether after
considering all the evidence relevant to the issue at hand, the judgment is so against
the great weight and preponderance of the evidence so as to be manifestly unjust.



Meraz v. State, 785 S.W.2d 146, 154-55 (Tex. Crim. App. 1990) (emphasis added); see also Clark,
47 S.W.3d at 215; 42 George E. Dix &amp; Robert O. Dawson, Texas Practice:  Criminal Practice and
Procedure § 26.122 (2d ed 2001).

	The Texas Supreme Court held in In re C.H., 89 S.W.3d 17, 25 (Tex. 2002), that
under traditional factual sufficiency standards in civil cases, a court determines if a finding is so
against the great weight and preponderance of evidence that it is manifestly unjust, shocks the
conscience or clearly demonstrates bias.  (Citing Pool v. Ford Motor Co., 715 S.W.2d 629, 635 (Tex.
1986)).


Evidence at the Competency Hearing


	With this background, we turn to the evidence presented at the competency hearing. 
At the request of appellant's attorney, Dr. Kevin McFarley, a psychologist, met with appellant about
two months before the November 2003 competency hearing.  Appellant refused to take any tests and
was uncooperative.  Thus, appellant and the psychologist "chatted for a while."  Dr. McFarley had
examined appellant in 1994 almost nine years previously when appellant was seventeen years old. 
The examination was at the request of the Child Protective Services to evaluate appellant's
intellectual and cognitive functioning, not appellant's competency to stand trial.  Dr. McFarley, after
administering several tests, concluded that appellant had an intermittent explosive disorder, an
attention deficit hyperactivity disorder, post-traumatic stress disorder, and mild mental retardation. 
Dr. McFarley was concerned about the records revealing appellant's I.Q. tests ranging from 59 to
72.  Probate court records were introduced while Dr. McFarley testified.  These 1995 records showed
appellant's sister was appointed his guardian after he was determined to be a "partially incapacitated
person."

	Dr. McFarley expressed his opinion that appellant did not have sufficient present
ability to consult with his attorney with a reasonable degree of rational understanding.  He further
believed that appellant had a factual understanding of the charges against him, below the
understanding of a person with Down's Syndrome, although appellant did not have that disorder. 
Dr. McFarley also testified that appellant (1) understood that he was in serious trouble, and had a
basic understanding "of what's going on"; (2) knew he was accused of "bad things"; and, (3) having
served time in prison, knew the consequences of losing.  Dr. McFarley related that appellant had a
very basic understanding of the roles of a judge, prosecutor, and defense counsel.

	Despite his earlier testimony about appellant's inability to consult with his attorney,
Dr. McFarley stated that appellant knew the name of each charge against him and had the ability to
discuss the facts of his case, and had given a complete confession.  Dr. McFarley revealed that
appellant was educable about certain courtroom matters if they were explained to him.  He did not
believe that appellant could read or write.  Dr. McFarley noted that appellant had an ability to recall
people's names and telephone numbers.  Appellant remembered Dr. McFarley in 2003 as the man
who gave him candy bars back in 1994.  Dr. McFarley acknowledged that only five percent of his
work was in the realm of forensic psychology.

	Dorothy Elaine Thomas, appellant's sister, testified that there was mental retardation
in the family, at age five appellant had been abused by his brother, and that there had been a hanging
incident when appellant was eight years old.  Mrs. Thomas reported that appellant had been taken
out of public schools and placed in a psychiatric unit and sent to different facilities until he was
seventeen years of age.  She testified that appellant finished "the 11th grade of school" and that he
could write and had written letters to her.  Mrs. Thomas stated that it was difficult to communicate
with appellant, but he could understand a matter if it was explained to him "point by point."

	The State called Dr. Richard Coons, a psychiatrist, who had evaluated over 7,000
adults for competency to stand trial and related issues for a period of thirty years.  Dr. Coons first
saw appellant on June 4, 1997, in connection with an earlier criminal charge.  At that time, he found
appellant competent to stand trial.  Dr. Coons again saw appellant on July 12, 2003, in connection
with the instant charges.  Thereafter, Dr. Coons issued a report finding appellant competent to stand
trial.  In October 2003, Dr. Coons once again met with appellant.  He found no reason to change his
mind as to appellant's competency.  He believed that appellant's intelligence was in the low average
range and suspected that appellant might have a learning disability.  Dr. Coons did not believe that
appellant could read or write.

	At each of Dr. Coons's examinations, appellant was oriented to time, place, and
person.  Appellant was responsive to questions, attentive to discussions, and his concentration was
good.  Dr. Coons noted that appellant knew the names of the 2003 offenses and what behavior
resulted in the charges; he also knew the name of his attorney.  At the hearing on competency, Dr.
Coons explained his opinion was not based solely on the three examinations, but also on a review
of appellant's Austin State Hospital records, the instant offense reports, the prison records, the Travis
County jail medical records, and appellant's videotaped confession.

	Without objection, Dr. Coons also reported that he had talked to a jailer and
appellant's 1997 counsel, both of whom felt that appellant was competent to stand trial.  Dr. Coons
disagreed that appellant was "moderately mental retarded."  He stated, "[w]hen I think of mental
retardation, I don't think of Daniel Williams."  He believed that Dr. McFarley relied too heavily on
the I.Q. scores.

	Dr. Jerome Schmidt, a psychologist in charge of all forensic work for the Travis
County Probation Department, testified for the State.  A psychological evaluation of appellant was
made in 1997 under Dr. Schmidt's supervision, not to determine competency, but to formulate a
treatment plan for probation.  Dr. Schmidt addressed the variance in appellant's I.Q. scores (59 to
72) and attributed it to appellant's level of motivation and willingness to participate.  Dr. Schmidt
stated that a person of normal intelligence could score as mentally retarded by not answering
questions or saying, "I don't know the answer to that."

	Dr. Schmidt, who had not personally examined appellant, testified that appellant's
medical records reflected inconsistent symptoms that suggested malingering or faking symptoms for
a secondary gain or to go to a hospital.  Dr. Schmidt believed appellant was competent to stand trial.

	Austin Police Officer Shawn Lapuszynski was a "mental health officer" for the police
department.  He had completed a forty-hour course of special training in dealing with people with
mental health issues.  On May 30, 2003, while on patrol, Lapuszynski arrived at the scene of a crime,
saw appellant run away, apprehended him and returned to the scene, and waited near a patrol car
with appellant as other officers performed their duties.  Officer Lapuszynski saw no indication
appellant suffered from any mental illness.  Appellant made certain comments and asked questions
indicating that he had some knowledge about the criminal justice system.  Appellant asked if the
victim was giving information to the police.  He knew that might mean trouble for him.  Appellant
indicated that he knew that he had committed a crime, the severity of the crime, and that he could
be assessed a long time in jail.  Appellant asked Lapuszynski's opinion as to how long he might have
to serve, and stated that he knew that doing certain things might make the judge "go easy on him." 
In order to show appellant's knowledge of the justice system, the State also introduced appellant's
handwritten pro se motion to dismiss appointed counsel in the pending criminal cases.  Appellant's
sister testified that neither the handwriting nor the signature was appellant's.

	We find a conflict in the evidence on competency to stand trial which was resolved
by the jury.  Appropriate deference should be accorded the fact-finder's role.  See Johnson v. State,
23 S.W.3d 1, 7 (Tex. Crim. App. 2000).  In considering all the evidence in a neutral light, Clewis
v. State, 922 S.W.2d 126, 129, 134 (Tex. Crim. App. 1996), we conclude that the jury's verdict was
not so against the great weight and preponderance of the evidence so as to be manifestly unjust,
shocking to the conscience or demonstrating bias.  See In re C.H., 89 S.W.3d at 25.  Appellant's first
point of error is overruled.


Comment on Weight of the Evidence


	In the second point of error, appellant contends that the trial court committed
fundamental error when it impermissibly commented on the weight of the evidence by allowing the
jury to hear its remarks to defense counsel who was continuing to object after a hearing in the jury's
absence.

	At the competency hearing, the trial court, at the State's suggestion, heard the
testimony of Austin Police Officer Lapuszynski in the absence of the jury.  The evidence was
essentially the same as described in the earlier sufficiency discussion.  The trial court overruled
appellant's objection that the officer's testimony was inadmissible because appellant was in custody
at the time of his comments, that Lapuszynski did not have a degree in psychiatry or psychology, and
only had limited training as a mental health officer for the police department.

	After the jury was returned to the courtroom, defense counsel asked to approach the
bench.  The record then reflects:


Ms. Craven [defense counsel]:	I think you said that he could answer those
questions, but what about his identification and
it's a person with mental health problems?  I
really don't think he's a qualified expert for that
kind of testimony.


The Court:				Is he giving--I don't have any problems with
that, a lay person talking about stuff.  Did he give
you anything that made you think he's off the
rocker or not.  That's all she's asking.


Ms. Craven:				Okay.



	There was no trial objection to the court's statements and nothing is presented for
review.  See Tex. R. App. P. 33.1(a).  Appellant has waived error.  Nunez v. State, 117 S.W.3d 309,
319 (Tex. App.--Corpus Christi 2003, no pet.).  Appellant candidly concedes this point, but claims
that there was fundamental error.  See Tex. R. Evid. 103(b). (3)  We do not agree.

	It was appellant's counsel who, having approached the trial court in the jury's
presence, continued to object and to seek clarification of a ruling made in the jury's absence.  The
trial court's statements were in response to the defense inquiry.  The trial court in effect was
informing defense counsel that he was applying Rule 701 (Opinion Testimony by Lay Witnesses)
of the Rules of Evidence.  The trial court's second statement appeared to refer to the question the
prosecutor would be asking an unnamed witness.  The trial court's remarks were awkwardly worded. 
Taken alone and outside the context of the earlier hearing, the statements would have little meaning
for the lay jurors if they did in fact hear the remarks.  Great caution should be exercised by trial
courts to avoid misinterpretation by jurors of the court's remarks even in rulings on evidentiary
matters.

	The statement here did not reflect the trial court's personal opinion on the competency
issue or reflect that the court was partial.  We do not conclude that the trial court commented on the
weight of the evidence.  See Tex. Code Crim. Proc. Ann. art. 38.05 (West 1979).  The facts of this
case are clearly distinguishable from those in the plurality opinion in Blue v. State, 41 S.W.3d 129
(Tex. Crim. App. 2000).  The second point of error is overruled.


Another Comment


	In the third point of error, appellant asserts that the trial court committed fundamental
error when it impermissibly commented on the weight of the evidence.  Appellant complains that
at the competency hearing and during the examination of appellant's expert witness, the trial court
stated that the testimony being elicited was "not the law in the state of Texas."

	At the competency hearing, Dr. McFarley, on direct examination, identified a list of
twenty-one items that had been faxed to him by defense counsel; observed that the list was "some
criteria for competency to stand trial" from a professional group called "Advancement for
Psychiatry"; and he stated that the different criteria came from different countries, different places,
different states, and included different ways to consider the criteria.  Dr. McFarley explained the
group was trying to be at the most progressive cutting edge of its field.  Dr. McFarley stated that he
had not used the list in his evaluation of appellant, but it was important because the list was a kind
of general guideline or outline that experts are saying should be considered and are "things you have
to consider."  At this point, the trial court asked to examine the list.  The record reflects:


The Court:				That is not the law in the State of Texas.  If it is
something he uses as a psychologist to--and he's
going to tell us what he assesses this person with
by that, but it is not the law in the state of Texas. 
That is not the law.  The law I will give.  We've
already given it to them.  If he wants to say this
is the things I looked at and this is law I apply it
to this case, that's fine.


Ms. Craven [defense counsel]:	That's what I was going to ask him about.


The Court:				But it is not the law in the State of Texas.



	Thereafter, the trial court told defense counsel that she would never get the list
admitted into evidence, but the witness could use it as earlier described.  Counsel was then instructed
to scratch off the "top part" where there was an inference that the list may be the law.  The trial court,
at the State's request, ordered the list be shown to the State before it was offered.  Appellant's
counsel claimed that the list at the time had not been offered.  The court responded, "Yeah, but
you've shown it to them so they already got the benefit of it."

	Defense counsel then continued her examination of Dr. McFarley.  The list was never
offered.  As appellant concedes, there was no objection to the trial court's remarks that this is not
the law in Texas.  Any error was waived and nothing is presented for review.  See Tex. R. App. P.
33.1(a).  There is no quarrel that the trial court later properly instructed the jury on the applicable
Texas law in its jury charge.

	"It is axiomatic that the court should instruct the jury on the law, and not anyone
else."  Powers v. State, 737 S.W.2d 53, 54 (Tex. App.--San Antonio, 1989, pet. ref'd).  "Generally
a correct statement of the law by the trial court, even during trial, is not a comment on the weight of
the evidence."  Aschbacher v. State, 61 S.W.3d 532, 539 (Tex. App.--San Antonio 2001, pet. ref'd). 
The trial court may declare in the jury's presence that a statement is "not the law."  Eckert v. State,
672 S.W.2d 600, 604 (Tex. App.--Austin 1984, pet. ref'd).  Likewise, a trial court may even correct
a misstatement of testimony during a trial.  See Jasper v. State, 61 S.W.3d 413, 421 (Tex. Crim.
App. 2001).  There was no preservation of error but if there had been the statements of the trial court
were not comments on the weight of evidence under article 38.05.  Tex. Code Crim. Proc. Ann. art.
38.05 (West 1979).

	We reject appellant's claim that in the interest of justice, even without an objection,
reversible error was demonstrated in light of Blue, 41 S.W.3d at 131.  While trial courts should
carefully word their remarks in the jury's presence and restrain from making unnecessary statements,
no error is presented here.  The third point of error is overruled.


Admission of Evidence Under Rule 701


	In the fourth point of error, appellant contends that he "was harmed when the trial
court erroneously [admitted] the opinion testimony of Shawn Lapuszynski of the Austin Police
Department."  Appellant argues that Officer Lapuszynski was not qualified as an expert witness
under Rule 702 of the Rules of Evidence and should have not been allowed to testify.  Appellant
claims that he was harmed when the officer testified before the jury at the competency hearing that
when the officer encountered appellant on May 30, 2003, appellant did not display any of the traits
the officer was trained to look for in a person suffering from some mental illness.  Further, he claims
the court erred in permitting the officer to say that he did not "see any indication from Mr. Williams
that he suffered from any mental illness."

	As observed earlier, the State asked to examine Lapuszynski in the absence of the
jury.  In a series of unobjected-to leading questions the State established the officer's encounter with
appellant on May 30, 2003, and that Lapuszynski was a "mental health officer" for the police
department having completed a forty-hour training course.  The officer testified that appellant did
not exhibit any signs characteristic of someone having a mental health issue.  Lapuszynski was not
interrogated by appellant's trial counsel except in the midst of an objection inquiring whether the
officer had a degree in psychology or psychiatry to which a negative answer was given.

	Appellant subsequently objected to the officer's testimony on the basis of relevancy,
that he was not a mental health expert, and on the basis of Rule 403 of the Texas Rules of Evidence. 
These objections were overruled.  The officer testified before the jury.  He was not cross-examined.

	Although it was not expressly stated, it is clear from the record that the trial court
admitted Officer Lapuszynski's testimony under Rule 701 of the Texas Rules of Evidence.

	Rule 701 (opinion testimony by lay witnesses) provides:


	If the witness is not testifying as an expert, the witness' testimony in the form
of opinions or inferences is limited to those opinions or inferences which are (a)
rationally based on the perception of the witness and (b) helpful to a clear
understanding of the witness' testimony or the determination of a fact in issue.



	Section (a) has been said to have two elements.  Harnett v. State, 38 S.W.3d 650, 657-59 (Tex. App.--Austin 2000, pet. ref'd).  The first element involves the personal knowledge of the
witness as required by Rule 602.  Tex. R. Evid. 602.  The necessary personal knowledge may be
gained by perception of fact by the senses of the witness.  Harnett, 38 S.W.3d at 658.  The second
element mandates that the opinion must be one that a reasonable person could draw from the
underlying facts.  Id.  The requirements of section (b) of Rule 701 are clear.  Under Rule 701 much
must be left to the discretion of the trial court.  Harnett, 38 S.W.3d at 658; Austin v. State, 794
S.W.2d 408, 410 (Tex. App.--Austin 1990, pet. ref'd).


	[I]f the witness perceived events and formed an opinion that a reasonable
person could draw from the facts then the first part of the rule is met.  If the opinion
is also helpful to the trier of fact to understand the witness's testimony or aids in the
determination of a fact in issue, then the opinion is admissible under Rule 701.



Osbourn v. State, 92 S.W.3d 531, 538 (Tex. Crim. App. 2003).


	It is evident from the record that Lapuszynski's testimony was not of a scientific or
technical nature, but was a patrol officer's opinions or inferences based on impressions and
conclusions derived from perceptions of what he saw, heard, and observed during his encounter with
appellant on May 30, 2003, in light of his experience and training.  See Harnett, 38 S.W.3d at 659. 
The opinion testimony based on events only five and a half months before the competency hearing
was an aid in the determination of the fact issues before the jury.

	The fact that the on-duty patrol officer had been designated "mental health officer"
after attending a forty-hour course on mental health did not require that his testimony be admissible
only as an expert witness under Rule 702.  What was said in Osbourn is pertinent here:


A distinct line cannot be drawn between lay opinion and expert testimony because
all perceptions are evaluated based on experiences.  However, as a general rule,
observations which do not require significant expertise to interpret and which are
not based on a scientific theory can be admitted as lay opinions if the requirements
of Rule 701 are met.  This is true even when the witness has experience or training. 
Additionally, even events not normally encountered by most people in everyday life
do not necessarily require the testimony of an expert.  The personal experience and
knowledge of a lay witness may establish that he or she is capable, without
qualification as an expert, of expressing an opinion on a subject outside the realm of
common knowledge.  It is only when the fact-finder may not fully understand the
evidence or be able to determine the fact in issue without the assistance of someone
with specialized knowledge that a witness must be qualified as an expert.



Osbourn, 92 S.W.3d 531, 537 (citation omitted, emphasis added).

	A trial court's decision to permit a witness to testify as a lay witness under Rule 701
will not be disturbed on appeal in the absence of an abuse of discretion.  Harnett, 38 S.W.3d at 657;
Ventroy v. State, 917 S.W.2d 419, 422 (Tex. App.--San Antonio 1995, pet. ref'd).  We find no abuse
of discretion by the trial court in admitting the questioned testimony under Rule 701. (4)  The fourth
point of error is overruled.


Introduction of Motion to Dismiss Appointed Counsel


	In the fifth point of error, appellant contends that the trial court erred in admitting into
evidence State's exhibit number one, appellant's pro se motion to substitute counsel, because the
offer violated his right to a separate competency hearing.  Moreover, appellant claims that the
probative value of the exhibit was substantially outweighed by the danger of unfair prejudice.

	State's exhibit number one, a certified copy of appellant's pro se handwritten motion
to dismiss appointed counsel, was offered by the State to show appellant's rational and factual
understanding of the proceedings against him.  The references on the exhibit to the specific criminal
charges pending against appellant were redacted by being "whited-out."  Appellant contends that the
exhibit published to the jury was legible enough as to the specific charges to be read by the jurors
despite the "white-out."  Appellant urges that the very purpose of a separate competency hearing is
to allow determination of competency of the defendant to stand trial uncluttered by evidence of the
offenses themselves.  Besham v. State, 608 S.W.2d 677, 679 (Tex. Crim. App. 1988); Cavender v.
State, 515 S.W.2d 277, 278 (Tex. Crim. App. 1974).

	The difficulty with appellant's position is that he did not object on this basis when
the exhibit was introduced.  Appellant objected on the basis of hearsay and insufficient
authentication and that objection was overruled.  Where the complaint on appeal does not comport
with the trial objection, nothing is presented for review.  Ibarra v. State, 11 S.W.3d 189, 197 (Tex.
Crim. App. 1999); Skillern v. State, 890 S.W.2d 849, 859 (Tex. App.--Austin 1994, pet. ref'd).

	In the second portion of his somewhat multifarious point of error, appellant attempts
to raise a complaint under Rule 403 of the Texas Rules of Evidence.  Here, again, the complaint on
appeal does not comport with the trial objection, presenting nothing for review.  Ibarra, 11 S.W.3d
at 197.  Because no Rule 403 objection was advanced at trial, appellant has failed to preserve any
claim on appeal that Rule 403 was violated by admitting such evidence.  See Nelson v. State, 864
S.W.2d 496, 499 (Tex. Crim. App. 1993).  The fifth point of error is overruled.


Exclusion of Guardianship Application


	In his sixth point of error, appellant claims that "the trial court erred in excluding
defense exhibit one, the application for appointment of a guardian [for appellant] which contained
the allegations upon which the probate court relied in its order finding appellant incompetent by clear
and convincing evidence.  The exclusion of the application violated appellant's sixth amendment
right to present his defense."

	Appellant does not direct our attention to the record reflecting the exclusion of such
evidence as required.  See Tex. R. App. P. 38.1(h).  We have relied upon the State's record
references.  It appears that during the direct examination of Dr. McFarley at the competency hearing,
he was asked to read the labels from defense exhibits one, two, and three, which were copies from
the Travis County Probate Court records.  When the exhibits were offered, the trial court sustained
the State's relevancy objection to defense exhibit one, the guardianship application, commenting that
it contained "allegations."  Defense exhibit two (order appointing guardian for appellant with limited
authority of person) and defense exhibit three (order dismissing guardianship proceedings) were
admitted into evidence.  Defense exhibit two stated in part that the probate court, inter alia, found
"the allegations in the application to be true by clear and convincing evidence including the
following:  (1)  [appellant] is a partially incapacitated person."  This order was entered in October
1995, approximately eight years before the competency hearing.  The guardianship proceedings were
later dismissed because the guardian, appellant's sister, failed to qualify.

	


	Rule 103(a)(2) provides:


Effect of Erroneous Ruling


(a)	Error may not be predicated upon a ruling which admits or excludes evidence
where a substantial right of the party is affected, and 


(2)	Offer of proof.  In case the ruling is one excluding evidence, the substance of the
evidence was made known to the court by offer, or was apparent from the
context within which questions were asked.



Tex. R. Evid. 103(a)(2).


	Appellant does not tell us how the error of exclusion of the guardianship application
was preserved for review.  The State, not appellant, notes that appellant's trial counsel made an offer
of proof regarding the exclusion just before the charge was given to the jury at the competency
hearing and cites record page numbers.  Appellant's trial counsel merely read into the record an
unsworn certificate of an examination of appellant by Dr. R. Bardrick, a psychologist, dated August
2, 1995, eight years before the competency hearing.  The report indicated that appellant was partially
incapacitated.  The guardianship application does not appear as a part of the offer of proof.  It is not
a part of the record prior to the charge being read to the jury.  Whether Dr. Bardrick's report was a
part of the guardianship application exhibit is not shown by the offer of proof.  Appellant makes no
effort to rely upon the incomplete offer of proof.  Appellant has not met his burden of establishing
what evidence he intended to offer which was excluded by the trial court.  See Kapuscinski v. State,
878 S.W.2d 248, 249 (Tex. App.--San Antonio 1994, pet. ref'd); Rule 103(a)(2).

	If it could be argued that the substance of the guardianship application was apparent
from the context of the record and the trial court's ruling was erroneous, appellant must show that
a substantial right of his was affected by the ruling.  Rule 103(a).  Appellant has not briefed or even
mentioned this burden.  Error cannot be predicated upon a trial court's ruling that admits or excludes
evidence unless a substantial right of a party is affected.  Ethington v. State, 819 S.W.2d 854, 858
(Tex. Crim. App. 1995); Skillern v. State, 890 S.W.2d 849, 864 (Tex. App.--Austin 1994, pet.
ref'd); Rule 103(a)(2).  A substantial right is affected when the error has a substantial and injurious
effect or influence in determining the jury's verdict.  King v. State, 953 S.W.2d 267, 271 (Tex. Crim.
App. 1997) (citing Kottrakos v. United States, 328 U.S. 750, 756 (1946)); see also Davis v. State,
22 S.W.3d 8, 12 (Tex. App.--Houston [14th Dist.] 2000, no pet.).  In making this determination, we
review the entire record to discern whether the error "substantially swayed" the jury or had a
"substantial influence on the jury's verdict."  See Umoja v. State, 965 S.W.2d 3, 11 (Tex. App.--Fort
Worth 1987, no pet.) (op. on reh'g).

	In reviewing the record, it is clear from defense exhibit two that the jury was made
aware that in 1995 appellant was found by the probate court to be a partially incapacitated person
based on allegations found to be true by clear and convincing evidence.  This evidence, in essence,
is what appellant claims was improperly excluded by the trial court.  In light of the evidence
admitted before the jury, we find that the exclusion of the guardianship application and the
psychologist's examination, if it was a part of defense exhibit one, did not have a substantial or
injurious influence on the jury's decision.

	Moreover, appellant acknowledges that a finding of partial incapacitation is "not a
prima facie showing of incompetency to stand trial."  Koehler v. State, 830 S.W.2d 665, 666 (Tex.
App.--San Antonio 1992, no pet.).  The Koehler court further explained:

Proceedings under the Texas Probate Code appointing guardians of persons of
unsound mind and proceedings under the Texas Code of Criminal Procedure
determining legal competence to stand trial are dissimilar and have different
purposes.  Guardianship proceedings are designed to protect a person who is, for any
reason, mentally incapable of taking care of himself or his property.  Tex. Prob. Code
Ann. § 114 (Vernon 1980).  Proceedings to determine competency to stand trial
contemplate determination of whether a defendant in a criminal action has sufficient
present ability to consult with his lawyer with a reasonable degree of rational
understanding and whether he has a rational, as well as a factual, understanding of
the charges brought against him.  Tex. Code Crim. Proc. Ann. art. 46.02 § 1 (Vernon
1979).  It follows from this difference that a judicial determination finding a person
mentally ill under the Probate Code does not constitute a determination of that
person's mental competency to stand trial against criminal charges.  Leyva v. State,
552 S.W.2d 158, 160 (Tex. Crim. App. 1977); Ainsworth v. State, 493 S.W.2d 517,
522 (Tex. Crim. App. 1973); see also Tex. Rev. Civ. Stat. Ann. art. 5547-83(b)
(Vernon 1958) (judicial determination that person is mentally ill does not constitute
determination or adjudication of mental competency).



Koehler, 830 S.W.2d at 666 (emphasis added).


	Appellant also asserts, "The erroneous exclusion of the application deprived appellant
of a fair trial and had a substantial and injurious effect or influence in determining the jury's verdict
because it prevented him from presenting his defense."  This complaint on appeal does not comport
with any trial objection.  See Rezac v. State, 782 S.W.2d 869, 870 (Tex. Crim. App. 1990). 
Appellant now claims a violation of the Sixth Amendment's right to present a defense which claim
was not presented to the trial court.  He merely cites Wiley v. State, 74 S.W.3d 399 (Tex. Crim. App.
2002).  We are not told what "defense" he was prevented from presenting at the competency hearing
by the exclusion of the guardianship application.  Apparently, appellant contends that if this evidence
had not been excluded the jury would have found him incompetent and he could not have legally
entered the guilty pleas.  This would have been his "defense."  The exclusion of a defendant's
evidence will be constitutional error only if the evidence forms such a vital portion of the case that
exclusion effectively precluded the defendant from presenting a defense.  See Potier v. State, 68
S.W.3d 657, 665 (Tex. Crim. App. 2002).  That did not occur here during the competency trial. 
Erroneous evidentiary rulings rarely rise to the level of denying the fundamental constitutional right
to present a meaningful defense.  Potier, 68 S.W.3d at 663.  See also Tate v. State, 988 S.W.2d 887,
890 (Tex. App.--Austin 1999, pet. ref'd).  The sixth point of error is overruled.


A Duty to Withdraw Guilty Pleas?


	In the seventh point of error, appellant contends that the "trial court had an
independent duty to withdraw appellant's pleas of guilty as the evidence of incompetency admitted
at punishment was so overwhelming that the trial court should have withdrawn the pleas of guilty." 
Thus, appellant argues that when his trial counsel introduced evidence, including appellant's medical
records for the purpose of "consideration in punishment," the trial court should have sua sponte
withdrawn the guilty pleas and entered pleas of not guilty.

	The point of error as stated and as briefed emit mixed signals.  In support of his
contention, appellant twice cites "Tex. Code Crim. Proc. Ann. art. 26.12(b)" and "Cf. Adams v. State,
745 S.W.2d 536, 538 (Tex. App.--Houston [1st Dist.] 1988, no pet.)."  These are the only
authorities cited to support the point of error.  The difficulty is that article 26.12 relates only to pleas
of not guilty and there is no subsection (b).  Adams, inter alia, was concerned at page 538 with the
issue of whether trial court erred in accepting a guilty plea when it failed to determine if the
defendant was competent to enter the plea as required by article 26.13(b) in effect at the time.  See
Tex. Code Crim. Proc. Ann. art. 26.13(b) (West Supp. 2005) (unchanged).  Adams held that the trial
court had an extended opportunity to observe and converse with the defendant and entered "sane"
on the docket sheet.  This constituted a "substantial compliance" with article 26.13, even though
there was no express inquiry directed to the defendant as to his mental competency before the guilty
plea was accepted.  745 S.W.2d at 538.  Adams dealt with the acceptance of a guilty plea under
statutory requirements.

	Perhaps, in view of appellant's citation of authorities, he intended to rely upon article
26.13(b) which provides:


	No plea of guilty or plea of nolo contendere shall be accepted by the trial
court unless it appears that the defendant is mentally competent and the plea is free
and voluntary.



Tex. Code Crim. Proc. Ann. art. 26.13(b) (West Supp. 2005).  Article 26.13 deals with the
acceptance of a guilty plea, not with the sua sponte withdrawal of a guilty plea by the trial court.

	If, in fact, appellant is challenging the trial court's acceptance of his guilty pleas, we
examine the record.  Eight days after the jury's verdict finding "competency to stand trial," while
represented by counsel, appellant entered the three guilty pleas.  The trial court engaged appellant
in a dialogue to determine if the pleas were freely and voluntarily made, and concluded that they
were.  The trial court admonished appellant of the consequences of his pleas and informed him of
certain basic constitutional rights, including the right to trial by jury, which appellant waived.  Thus,
the court had an opportunity to observe appellant and converse with him.  Appellant's responses
were lucid and coherent.  On a plea form filed in each case, appellant stated that he had no present
mental and emotional problems and that he "believed" that he was competent to stand trial.  Defense
counsel stated on each form that appellant was competent to stand trial.  The trial judge had before
him the legal presumption of competency and the recent jury verdict on competency.  On the said
plea forms, the trial court entered a finding that appellant was mentally competent.  It cannot be said
that the trial court did not comply with article 26.13(b).  After the court accepted the guilty pleas,
appellant made a judicial confession of the three offenses clearly answering the interrogations of his
defense counsel and the prosecutor.  It was at this point on November 28, 2003, that the trial court
passed the guilty pleas proceedings to December 2, 2003, for a "punishment hearing." (5)  We reject
any claim appellant may have that the trial court failed to sufficiently inquire into his mental
competency before accepting his guilty pleas as required by article 26.13(b).

	At the subsequent proceedings which were an extension of the unitary trial, the State
offered the testimony of the complaining witnesses, various police officers, and evidence of
extraneous offenses.  Appellant offered the testimony of his sister and her husband that appellant was
mentally retarded.  Appellant's counsel offered defense exhibit one, a packet of appellant's medical
records from the time he was a child until the current time, asking the trial court to take the exhibit
"into consideration in his punishment."  Subsequently, appellant's counsel in closing arguments
asked the trial court to consider leniency since appellant had entered guilty pleas and accepted
responsibility for his acts.  No other form of relief was requested.

	A defendant has a right to withdraw his plea of guilty or nolo contendere in a bench
trial without assigning a reason until the judgment has been pronounced or the case is taken under
advisement.  Jackson v. State, 590 S.W.2d 514, 515 (Tex. Crim. App. 1979); McWherter v. State,
571 S.W.2d 312, 313 n.2 (Tex. Crim. App. 1978).  This rule parallels the jury rule that the guilty plea
may be withdrawn by the defendant until the case is submitted to the jury.  Wilson v. State, 515
S.W.2d 274, 274-75 (Tex. Crim. App. 1974).  And the trial court has the discretion to allow the
withdrawal of the pleas of guilty or nolo contendere during the period in which the motion for new
trial could be granted.  State v. Evans, 843 S.W.2d 576, 577 (Tex. Crim. App. 1992).  At no time did
appellant seek to invoke his right to withdraw his pleas or ask the court to timely exercise its
discretion.  Instead, for the first time on appeal, appellant claims that the trial court should have sua
sponte withdrawn the guilty pleas upon the introduction of the said Defense Exhibit 1.

	"Prior to the 1965 Code of Criminal Procedure (effective January 1, 1966) the trial
court was required to withdraw a defendant's plea of guilty or nolo contendere when the evidence
fairly raises an issue of innocence whether the plea was before the jury or before the court in jury-waived proceedings."  43 George E. Dix &amp; Robert O. Dawson, Texas Practice:  Criminal Practice
and Procedure § 34.83 (2d ed 2001).  Under the former code, a trial court could not conduct a trial
on a plea of not guilty in a felony case.  There had to be a jury trial.  When the evidence fairly raised
an issue of innocence the trial court was obligated to withdraw the guilty plea and set the case before
a jury on a plea of not guilty.  Id.

	After the effective date of the 1965 Code, Moon v. State eliminated the requirement
of a sua sponte withdrawal of guilty plea in a bench trial where a jury had been waived.  The Moon
court explained:


	The 1965 Code of Criminal Procedure provides that a defendant may waive
a jury trial and enter a plea of not guilty before the court in all except capital cases. 
Articles 1.13 and 1.14, V.A.C.C.P.  There now seems to be no valid reason for the
court to withdraw the guilty plea and enter a plea of not guilty for the defendant when
the defendant enters a plea of guilty before the court after waiving a jury.  It is the
duty of the trial court to consider the evidence submitted and as the trier of the facts
the court may find the appellant guilty of a lesser offense and assess the appropriate
punishment or it may find the defendant not guilty.  It would serve no purpose to
withdraw the plea of guilty and enter a not guilty plea.



Moon v. State, 572 S.W.2d 681, 682 (Tex. Crim. App. 1978).

	Appellant overlooks Moon.  See also Thomas v. State, 599 S.W.2d 823, 824 (Tex.
Crim. App. 1980).  Under Moon, the trial court does not have to withdraw the guilty plea even if
evidence fairly raises the issue of innocence.  See Sullivan v. State, 573 S.W.2d 1, 1 (Tex. Crim.
App. 1978); Rivera v. State, 123 S.W.3d 21, 33 (Tex. App.--Houston [1st Dist.] 2003, pet. ref'd).

	Even if it could be argued that, under the circumstances, appellant was entitled to a
second competency hearing before a jury, there are barriers to such procedures.  It is within the
discretion of the trial court whether to sua sponte allow a second competency hearing before a jury. 
Meraz v. State, 714 S.W.2d 108, 115 (Tex. App.--El Paso 1986), aff'd, 785 S.W.2d 146 (Tex. Crim.
App. 1990).  It is not an abuse of discretion to deny a second hearing before a jury on the issue of
competency to stand trial in the absence of a showing of some change in competency since the first
hearing.  Id.

	The El Paso Court of Appeals in its Meraz opinion stated:


	In the situation where a jury has already properly found the defendant to be
competent, appellant must put forth some evidence of a subsequent change in
competency or some "new evidence" in a manner analogous to the newly discovered
basis for a new trial.  Any other procedural or evidentiary framework would
effectively block trial on the merits.



Id. at 115 (citing Miller v. State, 688 S.W.2d 219, 224 (Tex. App.--El Paso 1985, pet. ref'd)).  See
also Bush v. State, 353 S.W.2d 855, 858 (Tex. Crim. App. 1962); Kizzee v. State, 312 S.W.2d 661,
663 (Tex. Crim. App. 1958); O'Neil v. State, 642 S.W.2d 259, 262 (Tex. App.--Houston [14th
Dist.] 1982, no pet.).

	Where a defendant has been found competent to stand trial by a jury, the burden shifts
to him to come forward with new evidence of a change in his mental competency.  See Clark v.
State, 47 S.W.3d 211, 219 (Tex. App.--Beaumont 2001, no pet.); cf Thornhill v. State, 910 S.W.2d
653, 654-55 (Tex. App.--Fort Worth 1995, pet. ref'd).

	Appellant filed no written motion requesting a second competency hearing before a
jury nor indicated to the court that he sought such a hearing.  Appellant pointed to no evidence that
showed a subsequent change in his competency to stand trial a mere fifteen days after the first
competency hearing before a jury.  For all the reasons discussed, point of error seven is overruled.




Photographs


	In his eighth point of error, appellant contends that the trial court erred in admitting
into evidence State's exhibits 13-20--photographs of the crime scene and the victim's injuries from
a prior conviction, an enhancement allegation to which appellant had already pleaded "true."

	The only objection addressed to the trial court was "I'm going to object to that.  We
have the judgment from that assault, and I am going to object to any evidence about the prior assault
case."  The enhancement allegations about the 1997 prior conviction were contained in the
aggravated assault and robbery indictments.  Appellant's plea of "true" did not prevent the State
from offering evidence including the judgment of the prior conviction.  Davis v. State, 68 S.W.3d
273, 282-83 (Tex. App.--Dallas 2002, pet. ref'd) (State is permitted to establish facts underlying the
prior conviction used for enhancement purposes); Haney v. State, 951 S.W.2d 551, 555 (Tex.
App.--Waco 1997, no pet.).

	The admission of evidence in punishment is normally governed by article 37.07.  Tex.
Code Crim. Proc. Ann. art. 37.07, § 3(a)(1) (West Supp. 2005).  See Boone v. State, 60 S.W.3d 231,
232 (Tex. App.--Houston [14th Dist.] 2001, pet. ref'd).  Section 3(a)(1) of article 37.07 provides
that regardless of the plea or whether punishment is to be assessed by the judge or jury, evidence may
be offered by either party as to any matter that the court deems relevant to assessment of punishment. 
The statute gives the trial court broad discretion in determining the admissibility of evidence on
punishment.  See Davis, 68 S.W.3d at 282; Hernandez v. State, 29 S.W.3d 616, 626 (Tex.
App.--Houston [14th Dist.] 2000, pet. ref'd).

	Appellant's only objection was general in nature and failed to specifically point out
to the trial court why the offered photographs were legally inadmissible.  See Tex. R. App. P.
33.1(a).  On appeal appellant ignores his trial objection and complains that the introduction of the
photographs were more prejudicial than probative, rendering the exhibits inadmissible.  Appellant
does not cite Rule 403 of the Texas Rules of Evidence, but that is the thrust of his appellate
argument.  Rule 403 must be specifically invoked in order to preserve error under that rule. 
Montgomery v. State, 810 S.W.2d 372, 389 (Tex. Crim. App. 1991); see also Nelson v. State, 864
S.W.2d 496, 499 (Tex. Crim. App. 1993).  Appellant did invoke Rule 403 at trial.  Where the
complaint on appeal does not comport with the trial objection, nothing is presented for review. 
Ibarra, 11 S.W.3d at 197.  The eighth point of error is overruled.


Cumulative Error


	In the ninth point of error, appellant urges that the "cumulative effect of the errors
alleged denied appellant due process."  He cites Stahl v. State, 749 S.W.2d 826, 832 (Tex. Crim.
App. 1988).  We have found no error in any of appellant's contentions and hold that non-errors may
not in their cumulative effect cause error.  See Chamberlain v. State, 998 S.W.2d 230, 238 (Tex.
Crim. App. 1999); see also Turner v. State, 87 S.W.3d 111, 118 (Tex. Crim. App. 2002).  The ninth
point of error is overruled.


Cruel and Unusual Punishment


	"The trial court's sentence constitutes cruel and unusual punishment in violation of
Texas law and the Eighth Amendment to the United States Constitution in light of Atkins v. Virginia 
[536 US 304 (2002)] or alternatively, the evidence of mental illness adduced at punishment mitigated
appellant's conduct and required a lower sentence."  This is appellant's tenth point of error. (6)

	Appellant did not object to the sentences on the basis of cruel and unusual punishment
at trial, or at time of sentencing, or complain of the same in his motion for new trial.  Claims of cruel
and unusual punishment must be presented in a timely manner.  See Schneider v. State, 645 S.W.2d
463, 466 (Tex. Crim. App. 1983); Nicholas v. State, 56 S.W.3d 760, 768 (Tex. App.--Houston [1st
Dist.] 2001, pet. ref'd).  Because the complaint was not timely made, the claim has been waived. 
See Tex. R. App. P. 33.1(a)(1)(A); Rhodes v. State, 934 S.W.2d 113, 119 (Tex. Crim. App. 1996).

	If it had been preserved, appellant's claim lacks merit.  Appellant cites the Atkins
decision in which the Supreme Court held that the Eighth Amendment prohibits executions of
mentally retarded defendants.  See also Ex parte Briseno, 135 S.W.3d 1, 5 (Tex. Crim. App. 2004). 
The instant case is distinguished from Atkins because the death penalty was not assessed here. 
Harris v. McAdory, 334 F.3d 665 (7th Cir. 2003), in which a life sentence was imposed, recognized
this distinction.


Harris' reliance on Atkins v. Virginia, 536 U.S. 304, 153 L. Ed. 2d 335, 122 S. Ct.
2242 (2002) is misplaced.  The court in Atkins held that the Eighth Amendment
precludes capital punishment for mentally retarded defendants.  The case sub judice
is distinguishable because Harris is borderline mentally retarded, and more
importantly this is not a capital case.  A cursory glance at Atkins reveals that the court
was addressing the issue of mental retardation solely in the context of capital
punishment.



Harris, 3347 3d at 668 n.1.  See also People v. Benford, 812 NE2d 714, 726-27 (Tex. App. 2004)
(regarding a 40 year sentence).

	We reject appellant's assertion that it would not be an "erroneous extension of Atkins"
to remand the instant case for a new hearing on punishment given the circumstances.  In Texas, great
discretion is accorded trial courts in assessing punishment within the legislative mandated range of
penalties.  See Jackson, 680 S.W. at 814.  In a multifarious vein, the point of error asserts that in the
alternative, the evidence of mental illness mitigated appellant's conduct and required "a lower
sentence."  Appellant has not cited authorities or presented argument as required by Rule 38.1(h) of
the Texas Rules of Appellate Procedure.  The failure to comply with the briefing rules presents
nothing for review.  See Aldrich v. State, 928 S.W.2d 558, 560 n.2 (Tex. Crim. App. 1996). 
Appellant requested the trial court to consider the evidence in question in assessing punishment. 
Appellant has not shown that the trial court failed to consider such evidence.  The aggravated assault
and robbery convictions are normally second degree felonies, Tex. Pen. Code Ann. §§ 22.02(b),
29.02(b) (West 2005), but the punishment for such offenses may be enhanced to a first degree felony
by allegation and proof of a prior felony conviction, as occurred here.  See Tex. Pen. Code Ann.
§&nbsp;12.42(b) (West 2005).  The legal range of punishment for a first degree felony is life, or any term
of years not more than 99 and not less than 5 years.  Tex. Pen. Code Ann. § 12.32 (West 2005).  The
assessment of punishment in the two first degree felony cases here of aggravated assault and robbery
as enhanced was near the middle of the statutory range of punishment.  We find no merit in
appellant's contention.  The tenth point of error is overruled.

	The judgments of convictions are affirmed.



	                                                                                     

	John F. Onion, Jr., Justice

Before Chief Justice Law, Justices Puryear and Onion*

Affirmed

Filed:   March 2, 2006

Publish

*	Before John F. Onion, Jr., Presiding Judge (retired), Court of Criminal Appeals, sitting by
assignment.  See Tex. Gov't Code Ann. §&nbsp;74.003(b) (West 1999).
1. &nbsp;&nbsp;Honorable Fred Moore, a visiting judge, presided over the jury trial on competency to stand
trial prior to the entry by appellant of the guilty pleas before Judge Perkins.
2. &nbsp;&nbsp;As amended, Act of May 26, 1999, 76th Leg., R.S., ch. 561, 1999 Tex. Gen. Laws 3092,
amended by Act of May 23, 2001, 77th Leg., R.S., ch. 828, § 3; 2001, Tex. Gen. Laws, 1650, 1652-53.
3. &nbsp;&nbsp;"In a criminal case, nothing in these rules preclude taking notice of fundamental errors
affecting substantial rights although they were not brought to the attention of the court."  Tex. R.
Evid. 103(d).
4. &nbsp;&nbsp;If evidence is admissible for any purpose, the admission of that evidence must be upheld
on appeal, even if that purpose was not asserted at trial and even if the trial court gave the wrong
reason for admitting the evidence.  McDuff v. State, 939 S.W.2d 607, 619 (Tex. Crim. App. 1997); 
Romero v. State, 800 S.W.2d 539, 543 (Tex. Crim. App. 1990); King v. State, 129 S.W.3d 680, 683
(Tex. App.--Waco 2004, pet. ref'd).
5. &nbsp;&nbsp;After the appellant's judicial confession to the three offenses, the evidentiary requirements
of article 1.15 were satisfied without the necessity of further evidence.  Tex. Crim. Proc. Ann. art.
1.15 (West 2005); Dennery v. State, 592 S.W.2d 343, 354 (Tex. Crim. App. 1979) (op. on reh'g)
(judicial confession standing alone is sufficient to satisfy article 1.15 and sustain convictions).


	The instant case should be considered as a unitary trial, not a bifurcated trial.  Prior to the
1965 Code of Criminal Procedure all criminal trials were unitary trials regardless whether conducted
before a jury or the court.  Barfield v. State, 63 S.W.3d 446, 449 (Tex. Crim. App. 2001); Duhart
v. State, 668 S.W.2d 384, 386 n.3 (Tex. Crim. App. 1984).  Article 37.07, section 2(a) of the Code
of Criminal Procedure authorizing bifurcation of trials is applicable only to pleas of not guilty before
a jury.  Tex. Code Crim. Proc. Ann. art. 37.07, § 2(a) (West Supp. 2005); Barfield, 63 S.W.3d at
449; Duhart, 668 S.W.2d at 386 n.3; Morales v. State, 416 S.W.2d 403, 405 (Tex. Crim. App. 1967). 
The bifurcation statute did not apply to the instant case where the trial was before the court on pleas
of guilty.  The bifurcation of pleas of guilty before the trial court without a jury has become common
although unauthorized.  Barfield, 63 S.W.3d at 450; Ricondo v. State, 634 S.W.2d 837, 842 (Tex.
Crim. App. 1987) (plurality opinion).  The unnecessary bifurcation is harmless error particularly
where there is no objection as in the instant case.  See Barfield, 63 S.W.3d at 450.
6. &nbsp;&nbsp;There were three sentences imposed by the trial after appellant's non-negotiable pleas of
guilty, not one.  It is doubtful that appellant intended to include in his contention the state jail
sentence of one year for possession of cocaine.  Appellant apparently has reference to the two fifty-five years sentences for aggravated assault and robbery enhanced by a prior conviction.  All
sentences were within the range of penalty set by the Legislature for the offenses involved and
normally do not constitute excessive cruel or unusual punishment.  See Jackson v. State, 680 S.W.2d
809, 814 (Tex. Crim. App. 1984).


